                     Case 2:13-cv-00193 Document 775-39 Filed on 11/19/14 in TXSD Page 1 of 1
    From                              Nolte    Candace

    To                                Anchia        Tricia   Horatio     General Counsel            Legislative     Director                      triciahoratiohousestatetxus
    CC                                Murphy        Kathleen    Kathleen     Murphydpstexasgov                      Fox Duncan                           Bodisch   Robert

    BCC                               Nolte    Candace

    Sent                              9262013          100059      AM
    Subject                           FW Inquiry from Office of Texas State Rep Rafael Anchia
    Attachments                       DPS     Response         Ellis    92513pdf



Ms Horatio

A great deal         of    misinformation       has been conveyed                through    the   media regarding the                              Election Identification        Certificate

EIC         In   response to your question regarding the warrant checks                                please      review the attached                          letter   that   was issued    to

Senator Ellis            Although    unpaid     parking       tickets    could    affect the      ability   of   an individual                      to   be issued or renew a driver
license     or Texas        Identification     card      unpaid parking          tickets   are not associated                              in   any way with the issuance         of   an
Election         Identification     Certificate




Thank you


Candace Nolte
Deputy Assistant Director

Chief Office         of Government          Relations

Texas Department of Public                 Safety

512 4247272
5805 N Lamar Blvd

PO Box 4087
Austin      TX 787730170
candacenolteadpstexasgov




From Tricia Horatio mailtoTriciaHoratiohousestatetxus
Sent Wednesday    September 25 2013 325 PM
To Fox Duncan
Cc Elizabeth Zornes
Subject          Inquiry    from Office     of Texas State       Rep     Rafael    Anchia



Dear       Mr Fox

I
    hope   that     you might help answer a constituent                   inquiry recently         posed to our office The                                constituent    in   question was
under the belief             one   that   he says was confirmed by Texas                     DPS        that     voter registration                        applications       are matched

against a database to check                  for outstanding           warrants         Can you provide any insight as to whether                                   voter registration

applications         are checked          for warrants       as described          If
                                                                                        so when such screening                                  began And whether          the   practice

could      result   in   a person with an unpaid ticket being                blocked        from voting



Thank you in advance                for   your assistance



Regards




Tricia     A Horatio
General       CounselLegislative             Director

Rep Rafael Anchia
2149436081   District Phone                                                                   2:13-cv-193
                                                                                                                      exhibitsticker.com




5124630746 Capitol Phone                                                                      09/02/2014

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